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EXHIBIT E                                                      STANDARDIZED FUND ACCOUNTING REPORT
                                                                                                for
                                                                                 SEC v. Hill, et al. ‐ Cash Basis
(Q3 Amended)
                                                                      Receivership; Civil Court Docket No. 6:23‐CV‐00321
                                                                         Reporting Period 07/01/2023 to 09/30/2023




                                                                                                                               Detail       Subtotal ‐ Prior Qs     Grand Total
Line 1         Beginning Balance (As of 06/30/03/2023):                                                                    67,027,524.95     67,503,716.00        67,503,716.00
               Increases in Fund Balance:
Line 2         Business Income                                                                                                 34,690.00         13,269.84            47,959.84
Line 3         Cash and Securities                                                                                                           67,503,716.00        67,503,716.00
Line 4         Interest/Dividend Income                                                                                       794,832.52                             794,832.52
Line 5         Business Asset Liquidation
Line 6         Personal Asset Liquidation
Line 7         Third‐Party Litigation Income
Line 8         Miscellaneous ‐ Other
                 Total Funds Available (Lines 1 – 8):                                                                      67,857,047.47     67,516,985.84        68,346,508.36
               Decreases in Fund Balance:
Line 9         Disbursements to Investors                                                                                   1,380,000.00                           1,380,000.00
Line 10        Disbursements for Receivership Operations
    Line 10a   Disbursements to Receiver or Other Professionals *                                                              37,391.98         118,870.00          156,261.98
    Line 10b   Business Asset Expenses *                                                                                       33,208.48         370,590.89          403,799.37
    Line 10c   Personal Asset Expenses
    Line 10d   Investment Expenses
    Line 10e   Third‐Party Litigation Expenses
                   1. Attorney Fees
                   2. Litigation Expenses
                 Total Third‐Party Litigation Expenses
    Line 10f   Tax Administrator Fees and Bonds
    Line 10g   Federal and State Tax Payments
                 Total Disbursements for Receivership Operations                                                            1,450,600.46         489,460.89          560,061.35
Line 11        Disbursements for Distribution Expenses Paid by the Fund:
    Line 11a       Distribution Plan Development Expenses:
                    1. Fees:
                         Fund Administrator
                         Independent Distribution Consultant (IDC)
                         Distribution Agent
                         Consultants
                         Legal Advisers
                         Tax Advisers
                    2. Administrative Expenses
                    3. Miscellaneous
                   Total Plan Development Expenses                                                                                   0.00
    Line 11b       Distribution Plan Implementation Expenses:
                    1. Fees:
                         Fund Administrator
                         Independent Distribution Consultant (IDC)
                         Distribution Agent
                         Consultants
                         Legal Advisers
                         Tax Advisers
                    2. Administrative Expenses
                    3. Investor Identification:
                         Notice/Publishing Approved Plan
                         Claimant Identification
                         Claims Processing
                         Web Site Maintenance/Call Center
                    4. Fund Administrator Bond
                    5. Miscellaneous
                    6. Federal Account for Investor Restitution (FAIR) Reporting Expenses
                   Total Plan Implementation Expenses
                 Total Disbursements for Distribution Expenses Paid by the Fund                                                      0.00
Line 12        Disbursements to Court/Other:
    Line 12a       Investment Expenses/Court Registry Investment System (CRIS) Fees
    Line 12b       Federal Tax Payments
                 Total Disbursements to Court/Other:
                Total Funds Disbursed (Lines 9 – 11):                                                                       1,450,600.46         489,460.89        1,940,061.35


Line 13        Ending Balance (As of 09/30/2023):                                                                          66,406,447.01      67,027,524.95       66,406,447.01

Line 14        Ending Balance of Fund – Net Assets:
    Line 14a      Cash & Cash Equivalents (including publicly traded securities)                                           66,406,447.01     67,027,524.95        66,406,447.01
    Line 14b      Investments (Shelly ‐ see also Hill's claimed investments, not included)                                  7,091,394.52      6,876,984.67         7,091,394.52
    Line 14c      Other Assets or Uncleared Funds (CETA equipment under review)
                Total Ending Balance of Fund – Net Assets                                                                  73,497,841.53     73,904,509.62        73,497,841.53
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EXHIBIT E                                                   STANDARDIZED FUND ACCOUNTING REPORT
                                                                                            for
                                                                             SEC v. Hill, et al. ‐ Cash Basis
(Q3 Amended)
                                                                  Receivership; Civil Court Docket No. 6:23‐CV‐00321
                                                                     Reporting Period 07/01/2023 to 09/30/2023




OTHER SUPPLEMENTAL INFORMATION:
                                                                                                                             Detail               Subtotal         Grand Total
               Report of Items NOT To Be Paid by the Fund:
Line 15        Disbursements for Plan Administration Expenses Not Paid by the Fund:
    Line 15a      Plan Development Expenses Not Paid by the Fund:
                   1. Fees:
                        Fund Administrator
                        Independent Distribution Consultant (IDC)
                        Distribution Agent
                        Consultants
                        Legal Advisers
                        Tax Advisers
                   2. Administrative Expenses
                   3. Miscellaneous
                  Total Plan Development Expenses Not Paid by the Fund
    Line 15b      Plan Implementation Expenses Not Paid by the Fund:
                   1. Fees:
                        Fund Administrator
                        Independent Distribution Consultant (IDC)
                        Distribution Agent
                        Consultants
                        Legal Advisers
                        Tax Advisers
                   2. Administrative Expenses
                   3. Investor Identification:
                        Notice/Publishing Approved Plan
                        Claimant Identification
                        Claims Processing
                        Web Site Maintenance/Call Center
                   4. Fund Administrator Bond
                   5. Miscellaneous
                   6. FAIR Reporting Expenses
                  Total Plan Implementation Expenses Not Paid by the Fund
    Line 15c      Tax Administrator Fees & Bonds Not Paid by the Fund
                Total Disbursements for Plan Administration Expenses Not Paid by the Fund
Line 16        Disbursements to Court/Other Not Paid by the Fund:
    Line 16a      Investment Expenses/CRIS Fees
    Line 16b      Federal Tax Payments
                Total Disbursements to Court/Other Not Paid by the Fund:
Line 17        DC & State Tax Payments
Line 18        No. of Claims:
    Line 18a      # of Claims Received This Reporting Period                                                                          386                                    386
    Line 18b      # of Claims Received Since Inception of Fund                                                                        794                                    794
Line 19        No. of Claimants/Investors:
    Line 19a      # of Claimants/Investors Paid This Reporting Period                                                                   0                                        0
    Line 19b      # of Claimants/Investors Paid Since Inception of Fund                                                                 0                                        0

                                                                                                                       Receiver Albert C. Black, III

                                                                                                                       By: ___________________________
                                                                                                                         Dennis Roossien
                                                                                                                         Counsel for Receiver
                                                                                                                        March 11, 2024        [Amended]

                                                                                                                       *Amended ‐ business/prof'l expense alloc'n & subttl. prior period
